 Case 1:16-cv-01774-WTL-DML Document 1 Filed 07/01/16 Page 1 of 7 PageID #: 1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

Paula Casillas, individually and on         )
behalf of all others similarly situated,    )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )       No.    1:16-cv-1774
                                            )
Madison Avenue Associates, Inc., an         )
Indiana corporation,                        )
                                            )
                                            )
       Defendant.                           )       Jury Demanded

                              COMPLAINT – CLASS ACTION

       Plaintiff, Paula Casillas, individually and on behalf of all others similarly situated,

brings this action under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

("FDCPA"), for a finding that Defendant’s form debt collection letter violated the FDCPA,

and to recover damages, and alleges:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; and, b) Plaintiff and Defendant reside here.

                                           PARTIES

       3.      Plaintiff, Paula Casillas ("Casillas"), is a citizen of the State of Indiana,

residing in the Southern District of Indiana, from whom Defendant attempted to collect a

delinquent consumer debt, which she allegedly owed for a Harvester Financial Credit

Union debt.
Case 1:16-cv-01774-WTL-DML Document 1 Filed 07/01/16 Page 2 of 7 PageID #: 2



       4.      Defendant, Madison Avenue Associates, Inc. (“Madison”), is an Indiana

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts. Defendant Madison operates a debt collection business

and attempts to collect debts from consumers in the State of Indiana. In fact, Defendant

Madison was acting as a debt collector as to the delinquent consumer debt it attempted

to collect from Plaintiff.

       5.      Defendant Madison is authorized to conduct business in Indiana, and

maintains a registered agent here, see, record from the Indiana Secretary of State,

attached as Exhibit A. In fact, Defendant Madison conducts business in Indiana.

       6.      Defendant Madison is licensed as a debt collection agency in the State of

Indiana, see, record from the Indiana Secretary of State, Securities Division, attached

as Exhibit B. In fact, Defendant Madison acts as a collection agency in Indiana.

                                FACTUAL ALLEGATIONS

       7.      Defendant Madison sent Ms. Casillas an initial form collection letter, dated

May 5, 2016, demanding payment of a delinquent consumer debt allegedly owed to a

credit union. This letter stated, in pertinent part:

                                             * * *

       Federal law gives you thirty days after you receive this letter to dispute the
       validity of the debt or any part of it. Unless you notify this office within 30
       days after receiving this notice that you dispute the validity of the debt or
       any portion thereof, this office will assume this debt is valid. If you do
       dispute the debt, or any part of it by notifying this office within 30 days
       from receiving this notice, this office will obtain verification of the debt and
       mail you a copy of such verification. If you request this office within 30
       days after receiving this notice this office will provide you with the name
       and address of the original creditor, if different from the current creditor.
       The law does not require us to wait until the end of the 30 day period


                                               2
Case 1:16-cv-01774-WTL-DML Document 1 Filed 07/01/16 Page 3 of 7 PageID #: 3



       before attempting to collect this debt. If, however, you request proof of the
       debt or the name and address of the original creditor within the thirty day
       period that begins with your receipt of this letter, the law requires us to
       suspend our efforts to collect the debt until we mail the requested
       information to you.

                                            * * *

Nowhere in Defendant’s letter did they advise Ms. Casillas that disputes had to be in

writing, to be effective, and so that she could require Defendant Madison to provide

validation of the debt. Also, Defendant Madison’s letter did not advise Ms. Casillas that,

to be effective, any request for the name of the original creditor had to be in writing. A

copy of this letter is attached as Exhibit C.

       8.     Defendant’s failure to provide the above informational disclosures, which

are mandated by Congress in the FDCPA, constitutes a material/concrete breach of her

rights under the FDCPA. See, Janetos v. Fulton Friedman & Gullace, 2016 U.S. App.

LEXIS 6361 at [*7]-[*11] (7th Cir. 2016).

       9.     Defendant’s collection actions complained of herein occurred within

one year of the date of this Complaint.

       10.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                         COUNT I
                                   Violation Of § 1692g
                               Ineffective Validation Notice

       11.    Plaintiff adopts and realleges ¶¶ 1-10.

       12.    Section 1692g of the FDCPA requires that, within 5 days of Defendant’s

first communication to a consumer, they had to provide the consumer with an effective



                                                3
Case 1:16-cv-01774-WTL-DML Document 1 Filed 07/01/16 Page 4 of 7 PageID #: 4



validation notice, containing, among other disclosures, “(4) a statement that if the

consumer notifies the debt collector in writing within the thirty-day period that the debt,

or any portion thereof, is disputed, the debt collector will obtain verification of the debt”

see, 15 U.S.C. § 1692g(a)(4); “(5) a statement that, upon the consumer’s written

request within the thirty-day period, the debt collector will provide the consumer with the

name and address of the original creditor if different from the current creditor” see, 15

U.S.C. § 1692g(a)(5).

       13.    Nowhere in Defendant Madison’s May 5, 2016 initial collection letter to

Plaintiff (Exhibit C) does it state that Plaintiff’s dispute to Defendant Madison had to be

in writing to protect her right to obtain validation of the debt. Thus, Defendant Madison

has violated § 1692g(a)(4) of the FDCPA, see, McCabe v. Crawford & Co., 272 F.

Supp. 2d 736, at 742-743 (N.D. Ill. 2003); Matmanivong V. NCC, 2015 U.S. Dist. LEXIS

15054, at *[26]-[27](N.D. Ill, Feb. 9, 2015). Additionally, nowhere in Defendant

Madison’s May 5, 2016 initial collection letter to Plaintiff (Exhibit C) does it state that

Plaintiff’s request for the name and address of the original creditor had to be in writing

for it to be effective. Thus, Defendant has further violated § 1692g(a)(5) of the FDCPA.

       14.    Defendant Madison’s violation of § 1692g of the FDCPA renders it liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                       COUNT II
                         Violation Of § 1692f Of The FDCPA --
                     Unfair Or Unconscionable Collection Actions

       15.    Plaintiff adopts and realleges ¶¶ 1-10.

       16.    Section 1692f of the FDCPA prohibits a debt collector from using any

unfair or unconscionable means to collect or attempt to collect a debt, see, 15 U.S.C. §



                                               4
Case 1:16-cv-01774-WTL-DML Document 1 Filed 07/01/16 Page 5 of 7 PageID #: 5



1692f.

         17.   Defendant Madison, by failing to advise Plaintiff that her dispute must be

in writing for it to be effective and by failing to advise Plaintiff that to obtain the name of

the original creditor, it must be in writing for it to be effective, used unfair or

unconscionable means to collect a debt, in violation of § 1692f of the FDCPA.

         18.   Defendant Madison’s violation of § 1692f of the FDCPA renders it liable

for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                   CLASS ALLEGATIONS

         19.   Plaintiff, Paula Casillas, brings this action individually and as a class

action on behalf of all persons similarly situated in the State of Indiana from whom

Defendant Madison attempted to collect a delinquent consumer debt allegedly owed to

credit union, via the same form collection letter (Exhibit C), that Defendant sent to

Plaintiff, from one year before the date of this Complaint to the present. This action

seeks a finding that Defendant Madison’s form letter violates the FDCPA, and asks that

the Court award damages as authorized by § 1692k(a)(2) of the FDCPA.

         20.   Defendant Madison regularly engages in debt collection, using the same

form collection letter they sent Plaintiff Casillas, in its attempts to collect delinquent

consumer debts from other persons.

         21.   The Class consists of more than 35 persons from whom Defendant

Madison attempted to collect delinquent consumer debts, by sending other consumers

the same form collection letter they sent Plaintiff Casillas.

         22.   Plaintiff Casillas’ claims are typical of the claims of the Class. Common



                                                5
Case 1:16-cv-01774-WTL-DML Document 1 Filed 07/01/16 Page 6 of 7 PageID #: 6



questions of law or fact raised by this class action complaint affect all members of the

Class and predominate over any individual issues. Common relief is therefore sought

on behalf of all members of the Class. This class action is superior to other available

methods for the fair and efficient adjudication of this controversy.

       23.    The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to the individual

members of the Class, and a risk that any adjudications with respect to individual

members of the Class would, as a practical matter, either be dispositive of the interests

of other members of the Class not party to the adjudication, or substantially impair or

impede their ability to protect their interests. Defendant Madison has acted in a manner

applicable to the Class as a whole such that declaratory relief is warranted.

       24.    Plaintiff Casillas will fairly and adequately protect and represent the

interests of the Class. The management of the class action proposed is not

extraordinarily difficult, and the factual and legal issues raised by this class action

complaint will not require extended contact with the members of the Class, because

Defendant Madison’s conduct was perpetrated on all members of the Class and will be

established by common proof. Moreover, Plaintiff Casillas has retained counsel

experienced in class action litigation, including class actions brought under the FDCPA.

                                  PRAYER FOR RELIEF

       Plaintiff, Paula Casillas, individually and on behalf of all others similarly situated,

prays that this Court:

       1.     Certify this action as a class action;

       2.     Appoint Plaintiff Casillas as Class Representative of the Class, and her



                                              6
Case 1:16-cv-01774-WTL-DML Document 1 Filed 07/01/16 Page 7 of 7 PageID #: 7



attorneys as Class Counsel;

       3.     Find that Defendant Madison’s form collection letter violated the FDCPA;

       4.     Enter judgment in favor of Plaintiff Casillas and the Class, and against

Defendant Madison, for statutory damages, costs, and reasonable attorneys’ fees as

provided by § 1692k(a) of the FDCPA; and,

       5.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Paula Casillas, individually and on behalf of all others similarly situated,

demands trial by jury.

                                                     Paula Casillas, individually and on
                                                     behalf of all others similarly situated,

                                                     By:/s/ David J. Philipps___________
                                                     One of Plaintiff's Attorneys
Dated: July 1, 2016

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                                                 7
